AO 91 (Rev. ll/l l) Criminai Complaini

UNITED STATES DISTRICT CoURT

for the
Middle District ofNorth Carolina
United States of Ameriea

V.

Voneric }_aquane PR|N|US Case NO' / /9 m \T /<?6'

\._/\._/\_/\._/\_/\_/\_/

 

Dej?zndam(s)

CRIMINAL COMPLAINT

l, the complainant in this oase, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of Ni&y 2. 2013 ~ Jur\e 6, 2018 in the county of `_ SCOfland in the
Midd|e District of Norih Caroiina , the defendant(s) violated:

 

 

Code Sectz'on Ojj*"ense Descrzptfon
18 U,S.C. 922(9)(1) Feion in possession of a firearm

This criminal complaint is based on these facts:

See attached affidavit

El Continued on the attached sheet

 

 

 

C'omp]ainan! '.s' Sr`gnaiu)'e

Senior Specia| Agent Aciam Ni. Cameron

 

Printed name and title

Sworn to before me and signed in my presence

     

J.i_.`
\ ‘» . '
, v‘l»'l»~ ;./

, Date:

 

Jiidge ’s signalziij`e 7

City and gram Winston~Sa|em, N.C. Hon. Joi Eiizabeth Peake UlS';_.`Ma`g-;istrate».|u_dge

 

Prr'nted name and title_' 1

Case 1:18-mi-00180-.]EP Document 1 Filed 06/15/18 Paoe 1 of 12

 

lN THE UNITED STATES DISTRICT COURT

FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

AFFIDAVIT IN SUPPORT OF COl\/IPLAINT(S)
AND WARRANT(S) FOR ARREST

l, Adam Cameron, having been duly sworn according to laW, depose and

state that: '

l. Affiant is a Senior Special Agent With the Department of Justice (DOJ),
Bureau of Alcohol, ’l`obacco, Firearms and Explosives (ATF). Affiant has
been -x_so employed since June of 1999 and is currently assigned to the
Fayetteville, North Carolina Field Office Within the Charlotte, North

Carolina Field Division.

2. Affiant's duties include, but are not limited to, enforcing the federal
firearms laws as Well as other laws committed in Violation of federal
statutes During your affiant's employment With ATF, affiant has
conducted and assisted in numerous felony firearm, narcotic, and arson
investigations Your Affiant is also a certified interstate nexus
examiner. l completed specialized training in identification of firearms

and their place(s) of origin in or about September 2010.

Case 1:18-mi-00180-.]EP Document 1 Fi|'ed 06/15/18 Paoe 2 of 12

3. As a result of your affiant's training and experience as an ATF Senior
Special Agent, your affiant is familiar With federal criminal laWs, and
has participated in the investigations of criminal violations of federal
lavv, including, but not limited to Title 18 United States Code Section
922(€)(1)-

4. This affidavit is submitted for the limited purpose of establishing
probable cause that Voneric Laquane PRIMUS (hereinafter “PRIMUS”),

` having been convicted of a crime punishable by a term of imprisonment
exceeding one year, did knowingly possess a firearm as a convicted felon,
in the l\/Iiddle District of North Carolina, in violation of Title 18, United
States Code, Section 922(g)(l).

5. This affidavit is also submitted for the limited purpose of establishing
probable cause that Tony Devonta EVERETTE (hereinafter
“EVERETTE”) having been convicted of a crime punishable by a term of
imprisonment exceeding one year, did knowingly possess a firearm as a
convicted felon, in the Middle District of North Carolina, in violation of
Tin@ 1a United states ood@, section 922(§)(1).

6. lnformation contained Within this affidavit is based upon information
from this Affiant's investigation personal observations, training and
experience, as Well as information relayed to this Affiant by other law _

enforcement officers and or agents

2

Case 1:18-mi-00180-.]EP Document 1 Filed 06/15/18 Paoe 3 of 12

PROBABLE CAUSE
FIRST PURCHASE OF DRUGS AND A FIREARM FROM PRIMUS

7. On May 2, 2018, vvith the use of an ATF Confidential lnformant (Cl)
numbered 10121, lnvestigators purchased one ounce, approximately 29
grams, of cocaine base (“crack”) in a small clear plastic bag and one (i)
l\/letro Arms Corporation, Model American Classic ll, .45~caliber pistol,
serial number Al 3-07 201 loaded With nine rounds of ammunition, from
PRll\/IUS. 'l‘he Cl making the purchase, officers conducting visual
surveillance, and officers reviewing images from recordings of the
purchase all confirm that PRIMUS Was the seiler of the aforementioned
items.

3. 'l‘he purchased cocaine base (“crack”) field~tested positive for the presence
of cocaine base. The controlled purchase from PRll\/IUS Was audio and

video recorded

SECOND PURCHASE OF DRUGS AND A FIREARM FROM PRIMUS

9. On May 9, 2018, With the use of an ATF Confidential lnformant (Cl)

numbered 10121, lnvestigators purchased one (l) Smith and Wesson,
Model M&P45, .45-caliber pistol, serial number DXVOGSZ loaded With

ten rounds of ammunition and one ounce, approximately 29 grams, of

Case 1:18-mi-00180-.]EP Document 1 Filed 06/15/18 Paoe 4 of 12

powder cocaine in a small clear plastic bag and approximately one ounce,
27 grams, of cocaine base (“crack”) in a small clear plastic bag, from
PRll\/lUS. 'l‘he Cl making the purchase, officers conducting visual
surveillance, and officers reviewing images from recordings of the
purchase all confirm that PRIMUS was the seller of the aforementioned
items l

lO. The purchased powder cocaine and cocaine base (“crack”) each field-

tested positive for the presence of cocaine HCL and cocaine base
respectively The controlled purchase from PRll\/IUS was audio and video

recorded

THIRD PURCHASE OF DRUGS AND A FIREARM FR()M PRIMUS

ll. On May 16, 2018, With the use of an ATF Confidential lnformant (Cl)

numbered 10121, lnvestigators purchased one (l) Glock, l\/lodel 27, .40-
caliber pistol, serial number GCG551, With an extended capacity
magazine loaded with six rounds of ammunition; two ounces,
approximately 58 grams, of cocaine base (“crack”) in a small clear plastic
bagrand two additional SBM Tactical, high capacity .40 caliber pistol
magazines 'l"he Cl making the purchase, officers conducting visual

surveillance, and officers reviewing images from recordings of the

Case 1:18-mi-00180-.]EP Document 1 Filed 06/15/18 Paoe 5 of 12

purchase all confirm that PRIMUS was the seller of the aforementioned

items

l.?.. The purchased cocaine base (“crack”) field-tested positive for the

presence of cocaine base. The controlled purchase from PRIMUS was

audio and video recorded

FOURTH PURCHASE OF DRUGS AND A FIREARM FROM PRIMUS

l3. On May 23, 2013, with the use of an ATF Confidential lnformant (Cl)

numbered 10121, lnvestigators purchased one (l) Rossi, Model 713, 7.357-
caliber revolver, serial number FO71729 loaded with six rounds of
ammunition and approximately 29 grams of cocaine base (“crack”) in a
clear plastic bag, from PRIMUS. The purchases of the firearm and
cocaine base (“crack”) from PRIMUS occurred sequentially at two
different locations in Laurinburg, North Carolina. The Cl making the
purchases officers conducting visual surveillance, and officers reviewing
images from recordings of the purchase all confirm that PRIMUS was

the seller of the aforementioned items

l4. The purchased cocaine base (“crack”) field-tested positive for the

presence of cocaine base. The controlled purchases from PRIMUS were

audio and video recorded.

Case 1:18-mi-00180-.]EP Document 1 Filed 06/15/18 lF>aoe 6 of 12

 

FIFTH PURCHASE OF DRUGS AND A FIREARM FROlV_[ PRIMUS
15. On May 30, 2018, with the use of an ATF Confidential informant (Cl)
numbered 10121, investigators purchased one (l) Taurus, Model 85

UltraLite, .38-caliber revolver, serial number FW43987 loaded with five
rounds of ammunition and two ounces, approximately 57 grams, of
cocaine base (“crack”) in a small clear plastic bag, from PRIMUS. The Cl
making the purchase, officers conducting visual surveillance, and
officers reviewing images from recordings of the purchase all confirm

that PRll\/IUS was the seller of the aforementioned items

l6. The purchased cocaine base (“crack”) field~tested positive for the

presence of cocaine base. The controlled purchases from PRIMUS were

audio and video recorded

S]XTH PURCHASE OF DRUGS AND A FIREARM FROM PRIMUS

l7. On June 6, 2018, with the use of an ATF Confidential lnformant (Cl)

numbered 10121, lnvestigators purchased one Smith and Wesson,
Model 28, .357~caliber revolver, serial number N6368; one Jimenez
Arms, Model J.A. 380, .380~caliber pistol, serial number 268758, and
two ounces, approximately 57 grams, of cocaine base (“crack”) in a small

clear plastic bag. The Cl making the purchase, officers conducting visual

Case 1:18-mi-00180-.]E-P Document 1 Filed 06/15/18 Paoe 7 of 12

18

19.

20.

surveillance, and officers reviewing images from recordings of the

purchase all confirm that PRlMUS was the seller of the aforementioned

items

. rl‘he purchased cocaine base (“crack”) field-tested positive for the

presence of cocaine base. The controlled purchases from PRIMUS were

audio and video recorded

FIRST PURCHASE OF DRUGS FROM EVERETTE

On April 18, 2018, with the use of an ATF Confidential lnformant (Cl)

numbered 10121, lnvestigators purchased one ounce, approximately 29
grams, of cocaine in a small clear plastic bag, from EVERETTE. The Cl
making the purchase, officers conducting visual surveillance, and
officers reviewing images from recordings of the purchase all confirm

that EVERETTE was the seller of the aforementioned item.

The purchased cocaine field~tested positive for the presence of cocaine.

The controlled purchases from EVERETTE were audio .an-d video

recorded

SECOND PURCHASE OF DRUGS AND A FIREARM FROM
EVERETTE

Case 1:18-mi-00180-.]EP Document 1 Filed 06/15/18 Paoe 8 of 12

21.

On April 25, 2018, with the use of an ATF Confidential lnformant (Cl)

numbered 10121, lnvestigators purchased one Smith and Wesson,
Model US Army 1917, .45-caliber revolver, serial number 127182 and
one ounce, approximately 29 grams of cocaine base (“crack”) in a small
clear plastic bag, The Cl making the purchase, officers conducting
visual surveillance, and officers reviewing images from recordings of

the purchase all confirm that EVERETTE was the seller of the

aforementioned items

22. The purchased cocaine base (“crack”) field~tested positive for the

23.

presence of cocaine base. The controlled purchases from EVERETTE

were audio and video recorded

THIRD PURCHASE OF DRUGS AND A FIREARM FROM
M

On May 18, 2018, with the use of an ATF Confidential lnformant (Cl)

numbered 10121, lnvestigators purchased one Smith and Wesson,
l\/lodel Bodyguard 380, 380-caliber pistol, serial number EAZ8676
loaded with fourteen rounds of ammunition; approximately twenty
grams of cocaine base (“crack”) and 29 grams of powder cocaine in a
small clear plastic bag. rl`he Cl making the purchase, officers

conducting visual surveillance, and officers reviewing images from

Case 1:18-mi-00180-.]EP Document 1 Filed 06/15/18 Paoe 9 of 12

 

24.

25.

recordings of the purchase all confirm that EVERETTE was the seller

of the aforementioned items

The purchased cocaine base (“crack”) and cocaine field-tested positive

for the presence of cocaine base and cocaine respectively The controlled

purchases from EVERETTE were audio and video recorded

As an ATF Nexus Examiner, l advised that, based upon my knowledge

and research, the Metro Arms Corporation, Model American Classic ll,
.45~caliber pistol, serial number A13-07201; Smith and Wesson, l\/lodel
M&P45, .45-caliber pistol, serial number DXVOGSZ; Glock, l\/lodel 27,
.40-caliber pistol,_ serial number GCGBBI; Rossi, l\/lodel 713, .357~
caliber revolver, serial number FO71729; Taurus, Model 85 UltraLite,
.38-caliber revolver, serial number FW43987; Smith and Wesson,
Model 28, .357~calib'er revolver, serial number N6368; Jimenez Arms,
Model J.A. 380, 980-caliber pistol, serial number 268758; Smith and
Wesson, l\/lodel US Army 1917, .45-caliber revolver, serial number
127182 and Smith and Wesson, l\/lodel lBodyguard 380, 980-caliber
pistol, serial number EAZ867 6 are firearms as defined in rl`itle 18,
United States Code 921(a)(3), and that these firearms were not

manufactured in the State of North Carolina. Therefore, it was the

opinion of your Affiant that the firearms must have traveled in,' and

Case 1:18..-mi-00180-.]EP Document 1 Filed 06/15/18 Paoe 10 of 12

26.

27.

28.

thereby affected interstate and/or foreign commerce, if they were

received or possessed in the State of North Carolina.

A record search revealedthat PRll\/lUS was convicted of Discharging a
Weapon Occupied Property, North Carolina Annotated § 14-34.1 (A), a
felony, in Scotland County, North Carolina on December 7 , 2010.
PRIMUS received a sentence for a term of imprisonment exceeding one

year.

A record search revealed that EVERETTE was convicted of _Possession

of a firearm by a convicted felon, North Carolina Annotated § 14-415.1,
a felony, in Scotland County, North Carolina on February 16, 2012.
EVERETTE received a sentence of imprisonment for a term exceeding

one year.

CONCLUSION.`
Based on the above information, your Affiant believes that probable
cause exists that on or about May 2, 2018, May 9, 2018, May 16, 2018,
May 23, 2018, May 30, 2018 and June 6, 2018 in the l\/liddle l)istrict of
North Carolina, that PRll\/IUS, having been convicted of a crime
punishable by a term of imprisonment exceeding one year, knowingly
possessed a firearm as a convicted felon, in the l\/[iddle District of North
Carolina, in violation of Title 18, United States Code, Section 922(g)(l).

10

Case 1:18-mi-00180-.]EP Document 1 Filed 06/15/18 Paoe 11 of 12

29. Your Affiant additionally believes that probable cause exists that on

or about April 25, 2018 and May 18, 2018, in the Middle District of
North Carolina, that EVERETTE, having been convicted of a crime
punishable . by a term of imprisonment exceeding one year, did
knowingly possess a firearm as a convicted felon, in the Middle District

of North Carolina,4 in violation of Title 18, United States Code, Section

922(§)(1)-

Respectfully Submitted,

 

Adam l\/l. Cameron

Senior Special Agent

Bureau of Alcohol, Tobacco, Firearms
and Explosives

Subscribed and sworn to before me
on this, the _L`i day of June, 2018

\
» \_,M,Mo

//;,-m _\

/~ //`\
/ iii a “:n:`“f{“si<(@“ j»é?:" f“©”§`“ --\~~M__;

; ' THE nbNo mrs Joi ELizABE'rH PEAKE
\_ marer sr res MAeis'raATs JUDGE

\

11

Case 1:18-mi-00180-.]EP Document 1 Filed 06/15/18 Paoe 12 of 12

